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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

 CONTINENTAL 332 FUND LLC,
 CONTINENTAL 298 FUND LLC,
 CONTINENTAL 306 FUND LLC,
 CONTINENTAL 326 FUND LLC,
 CONTINENTAL 347 FUND LLC,
 CONTINENTAL 355 FUND LLC,
 CONTINENTAL 342 FUND LLC, and
 CONTINENTAL 245 FUND LLC,

        Plaintiffs,
                                                   Case No.: 2:17-cv-41-FtM-38MRM
 v.

 DAVID ALBERTELLI, ALBERTELLI
 CONSTRUCTION, INC., GEORGE
 ALBERTELLI, WESTCORE
 CONSTRUCTION, LLC (Del.), NATIONAL
 FRAMING, LLC, MFDC, LLC, TEAM CCR,
 LLC, BROOK KOZLOWSKI, JOHN
 SALAT, KEVIN BURKE, KERRY
 HELTZEL, AMY BUTLER, US
 CONSTRUCTION TRUST, FOUNDATION
 MANAGEMENT, LLC, KMM
 CONSTRUCTION, LLC, WESTCORE
 CONSTRUCTION, LLC (Nev.), and
 GREGORY HILZ,

       Defendants.
 _________________________________/


                 DEFENDANTS’ JOINT MOTION FOR TO FILE UNDER SEAL

       COMES NOW, Defendants, Brook Kozlowski, Kevin Burke, John Salat, Kerry Heltzel, Westcore

Construction, LLC (Del.), National Framing, LLC, MFDC, LLC, Team CCR, LLC, US Construction

Trust, Foundation Management, LLC, KMM Construction, LLC and Westcore Construction, LLC (Nev.),

(collectively, “Defendants”), pursuant to Local Rule 1.09(a), and the Confidentiality and Protective
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Stipulation and Order (ECF No. 126) (the “Confidentiality Order”) in place in this action, files its Motion

for Leave to File Documents Under Seal (“Motion”), and as grounds therefore states as follows:

       1.      Defendants will file, subject to final conferral with all appropriate counsel, a Joint Motion

for Determination of Questions of Law Impacting Discovery Pursuant to Rule 16 of the Federal Rules of

Civil Procedure and the Court’s Supervisory Power (“Rule 16 Motion”), to determine the enforceability

and effect of documents obtained during discovery that arguably violate Fla. Rules of Prof’l Conduct.

       2.      The Rule 16 Motion seeks analysis and determination of documents uncovered during

discovery that were produced pursuant to the Confidentiality Order in this case.

       3.      Defendants request this Court to allow permission to file the Rule 16 Motion and

accompanying exhibits under seal.

                              AUTHORITY IN SUPPORT OF SEALING

       In evaluating a motion to seal, courts balance a party’s interest in keeping the information

potentially confidential against the public interest in accessing court documents. See Romero v.

Drummond Co., Inc., 480 F.3d 1234, 1246 (11th Cir. 2005); Chicago Tribune Co. v.

Bridgestone/Firestone, Inc., 263 F.3d 1304, 1314-15 (11th Cir. 2001). In balancing the interests, courts

consider whether allowing access would impair court functions or harm legitimate privacy interests, the

degree of and likelihood of injury if made public, the reliability of the information, whether there will be

an opportunity to respond to the information, whether the information concerns public officials or

public concerns, and the availability of a less onerous alternative to sealing the documents. See

Romero, 480 F.3d at 1246. The Eleventh Circuit has recognized that “[a] party’s privacy or

proprietary interest in information sometimes overcomes the interest of the public in accessing the

information.” Id. at 1246. The Confidential Documents requesting to be sealed to not relate to

“public officials or public concerns” and there is not a “less onerous” alternative to sealing the


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Potentially Confidential Documents that would ensure that their contents remain confidential while

allowing the Court to review them as necessary to reach a decision on the merits. Id. at 1246.

       Respectfully submitted this 12th day of April, 2019.



                                                     JOHN D. WEBB, P.A.

                                                     s/ John D. Webb
                                                     John D. “Jack” Webb
                                                     Florida Bar Number: 051871
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                                LOCAL RULE 3.01(g) CERTIFICATE

       The undersigned has conferred with all counsel of record with regards to the issue raised by the

Motion herein, and has been advised that all counsel of record to not object to the requested relief.


                                                     s/ John D. Webb
                                                     John D. “Jack” Webb




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                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 12th day of April, 2019, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will electronically send a notice of

electronic filing to all parties of record who have consented to such service.


                                                      JOHN D. WEBB, P.A.

                                                      s/ John D. Webb
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